                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION - DETROIT

  IN THE MATTER OF:                           CHAPTER 13
  BRANDON L HEITMANN,                         CASE NO. 24-41956-MAR
  DEBTOR.                                     JUDGE MARK A RANDON
  ______________________/

ORDER ADJOURNING SECTION 341 MEETING OF CREDITORS AND CONFIRMATION HEARING

      This matter came before the Court upon the stipulation between Debtor and
Chapter 13 Trustee consenting to the terms of this Order. Based upon the Stipulation,
the Court finds cause to enter this Order.
      IT IS HEREBY ORDERED that the Meeting of Creditors is rescheduled to:
NEW 341 DATE:                       June 28, 2024                    TIME: 10:00 a.m.
LOCATION:                   Zoom video meeting. Go to: Zoom.us/join. Enter:
                            Meeting ID 949 724 7977, and Passcode 2718849134,
                            OR call (313) 331−6488
      IT IS FURTHER ORDERED that based upon the rescheduling of the Debtor's Section
§ 341 Meeting of Creditors, the Debtor's Confirmation Hearing to be conducted
pursuant to the Judge’s procedures posted on the Court’s website at
www.mieb.uscourts.gov shall be adjourned to:
NEW CONFIRMATION DATE:              August 14, 2024                  TIME: 9:00 a.m.
      IT IS FURTHER ORDERED that Debtor or Debtor's counsel shall:
      (a) provide no less than twenty-one (21) days written notice of these adjourned
           dates and times to all parties in interest;
      (b) file a Proof of Service evidencing notice to creditors with the Clerk of the
           Court and a copy to the Chapter 13 Trustee no later than five (5) days
           prior to the adjourned meeting of creditors.
      IT IS FURTHER ORDERED that the deadlines:
      (a) for filing objections to the confirmation of the plan is 21 days from the date
           of adjourned Section 341 Meeting of Creditors is held;
      (b) that the deadlines to Object to Debtor's discharge or to challenge
           dischargeability of a certain debt is 60 days after the new date.
      IT IS FURTHER ORDERED that Debtor will remit payments as follows:
   ☒          Debtor’s TFS plan payment in the amount of $4000 will post on Trustee’s
              records on or before May 28, 2024;


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   ☒         100% hearing to hearing;

       IT IS FURTHER ORDERED that Debtor file and/or serve the following documents
on the Trustee’s office, on or before June 14, 2024,:
   ☒           Recent pay stubs for debtor and non-filing spouse
   ☒           2021 amended tax return and 2023 income tax return with W-
   2s/1099s
   ☒           One year of personal and business (Exigent Landscaping LLC) bank
   statements

       IT IS FURTHER ORDERED that in the event the Debtor fail(s) to appear at the
adjourned Section 341 Meeting of Creditors, or should the Debtor fail to comply with
any of the terms or conditions above, the Trustee may submit an Order of Dismissal
or Re-Conversion to the bankruptcy court along with an Affidavit attesting to the
Debtor's failure to appear at the adjourned Section 341 Meeting of Creditors, or
failure to comply with the other terms and conditions in the above Order and the
proceedings may be dismissed or reconverted upon Order of the Court without
further notice or hearing.


Signed on May 30, 2024




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